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              United States District Court
     -------------------------- DISTRICT OF KANSAS----------------------------

SUSAN M. MILES,

                    Plaintiff,

v.                                                Case No. 17-2685-DDC-TJJ

UNIFIED SCHOOL DISTRICT NO. 500,
KANSAS CITY, KANSAS,
VALERIE CASTILLO,

                    Defendants.



                       JUDGMENT IN A CIVIL CASE
☐     Jury Verdict. This action came before the Court for a jury trial. The issues have been
      tried and the jury has rendered its verdict.

☒     Decision by the Court. This action came before the Court. The issues have been
      considered and a decision has been rendered.


Consistent with the Memorandum and Order (Doc. 80) filed on April 3, 2020, the
court dismisses plaintiff’s claims with prejudice. Judgment is entered in favor of
USD No. 500 on plaintiff’s claims and in USD No. 500’s favor on its counterclaims
for specific performance and declaratory relief. USD No. 500’s request for
injunction relief is denied as moot.


____04/03/2020                                    TIMOTHY M. O’BRIEN
    Date                                          CLERK OF THE DISTRICT COURT

                                                  by: __s/ Megan Garrett_____________
                                                         Deputy Clerk
